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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )              CASE NO. 1:06cr00338-011
                                              )
       Plaintiff,                             )              JUDGE: JAMES S. GWIN
                                              )
vs.                                           )              ORDER
                                              )
LUCIEN RAY,                                   )
                                              )
       Defendant.                             )



       This matter was heard on January 9, 2012, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Attorney Edward Bryan. The violation report was

referred to Magistrate Judge George J. Limbert to conduct appropriate proceedings and for the

issuance of a Report and Recommendation. The Report and Recommendation was issued on

December 22, 2011, [Doc. 661] noting defendant admitted to the violation and recommending

that this Court find defendant violated the conditions of supervised release.

       The Court, noting no objections to the Report and Recommendation had been filed,

adopted same and found the following terms of supervision had been violated:

               1) new law violation - defendant convicted of Aggravated Vehicular

               Assault and Driving Under the Influence in Cuyahoga Common

               Pleas Court.

       Therefore, the defendant is committed to the Bureau of Prisons for a period of six months
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and is granted credit for time served in federal custody on the instant violation. The sentence in

this case shall be served consecutive to defendant’s state sentence. Upon release from

imprisonment defendant’s period of supervised release shall terminate.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: January 18, 2012                              s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
